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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
TINTRI, INC.,' ) Case No.: 18-11625 (LSS)
)
Debtor. )

ORDER GRANTING SIXTH MONTHLY (FOR THE PERIOD FROM
JUNE 1, 2619 THROUGH JANUARY 31, 2020) AND FINAL APPLICATION FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF WILSON SONSINI
GOODRICH & ROSATI, PROFESSIONAL CORPORATION, AS SPECIAL
CORPORATE COUNSEL TO THE DEBTOR AND DEBTOR IN POSSESSION FOR
THE PERIOD FROM JULY 10, 2018 THROUGH JANUARY 31, 2020

Wilson Sonsini Goodrich & Rosati, Professional Corporation (“WSGR”), as
Special Corporate Counsel for the Debtor and Debtor in Possession in the above-captioned cases,
filed its Sixth Monthly (for the Period from June 1, 2019 through January 31, 2020) and Final
Application for Compensation and for Reimbursement of Expenses for the Period from July 10,
2018 through January 31, 2020 (the “Application” ); and it appearing that this Court has
jurisdiction to consider the Application pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended
Standing Order of Reference from the United States District Court for the District of Delaware,
dated February 29, 2012; and this Court having found that it may enter a final order consistent
with Article [II of the United States Constitution; and the Court having found that this is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 

' The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

 
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and due and proper notice having been provided to the parties provided for in the Application;
and upon due deliberation given, it is hereby ORDERED THAT:

The Application is GRANTED, on a final basis. To the extent not already paid,
the Debtor shall pay to WSGR the aggregate amount of (i) $628,005.50 as compensation for
necessary professional services rendered, and (ii) $4,803.98 for actual and necessary expenses,
for a total final award of $632,809.48 for services rendered and expenses incurred by WSGR on
behalf of the Debtor for the period July 10, 2018 through January 31, 2020.

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HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

 
